                                           Northern District Of Ohio
                                        United States Bankruptcy Court
                                        1716 Spielbusch Ave Room 411
                                              Toledo, OH 43604
                                               Case No. 16−31867−maw

In re:
   Christine A. McCann
   3605 Portside Dr
   Vermilion, OH 44089
Social Security No.:
   xxx−xx−9444



    NOTICE OF PRELIMINARY HEARING ON MOTION FOR RELIEF FROM CO−DEBTOR STAY

FirstMerit Bank NA filed papers with the Court requesting relief co−debtor stay re: 15119 Darrow Rd,Vermilion,
OH.The preliminary hearing will not be held absent a response being filed with the Court.

Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you have
             one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

If you do not want the Court to grant the motion requested, or if you want the Court to consider your views on the
Motion, then on or before July 27, 2016 you or your attorney must:

                                      File with the court a written response at:
                                            United States Bankruptcy Court
                                           1716 Spielbusch Ave Room 411
                                                  Toledo, OH 43604

If you mail your request/response to the court for filing, you must mail it early enough so the court will receive it on
or before the date stated above.

                                            You must also mail a copy to:

Trustee
Elizabeth A. Vaughan
Office of the Chapter 13 Trustee
316 N. Michigan Street #501
Toledo, OH 43604

Debtor's Attorney                               Movant's Attorney
Betty Jean Burley                               Alan C Hochheiser
The Burley Law Office                           1400 Fifth Third Center, 600 Superior Ave East
5012 Liberty Avenue                             Cleveland, OH 44114−2652
Vermilion, OH 44089

                                        And attend the hearing scheduled for:
                                         Thursday, August 4, 2016 @ 9:30AM
                                        US Courthouse, Courtroom #2, Rm 103
                                       1716 Spielbusch Ave., Toledo, OH 43604

If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief sought in the
Motion and may enter an order granting that relief.

Dated: July 13, 2016                                                              For the Court
Form ohnb233                                                                   Kenneth J. Hirz, Clerk




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